
266 S.W.3d 843 (2008)
In the Interest of S.M.P., G.C.P., and A.T.P., minors.
Juvenile Officer of St. Louis County, Petitioner/Respondent,
v.
Q.M.I., Respondent/Appellant, and
C.K.P., Respondent.
No. ED 90807.
Missouri Court of Appeals, Eastern District, Division Four.
September 9, 2008.
Motion for Rehearing and/or Transfer to Supreme Court Denied October 9, 2008.
*844 John R. Bird, St. Louis, MO, for appellant.
Gary L. Gardner, Assistant Attorney General, Jefferson City, MO, for The Children's Division, respondent.
Dorothy Schuchat, Clayton, MO, Guardian Ad Litem.
Before BOOKER T. SHAW, P.J., KATHIANNE KNAUP CRANE, J., and MARY K. HOFF, J.

ORDER
PER CURIAM.
Mother appeals from the judgment of the trial court terminating her parental rights to three of her minor children. The judgment is supported by substantial evidence and is not against the weight of the evidence. No error of law appears. Murphy v. Carron, 536 S.W.2d 30, 32 (Mo. banc 1976).
An opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed in accordance with Rule 84.16(b).
